                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )        Case No. DNCW3:10CR249-01
       v.                                              )        (Financial Litigation Unit)
                                                       )
DENNIS JUSTIN MOORE, JR.                               )

                                             ORDER

       Upon consideration of the United States' Motion for an Order requiring the Treasury

Executive Office for Asset Forfeiture to liquidate property and apply proceeds to any monetary

penalties in this matter, and for an Order directing the United States District Clerk of Court to

accept prepayment of the monetary penalties in this matter and to distribute the funds upon entry

of the judgment in this matter (Doc. No. 49), and the Court having considered the same, the

Court finds that the government has established good cause for the requested relief.

       It is, therefore, ORDERED, ADJUDGED and DECREED that:

       1.      The Treasury Executive Office for Asset Forfeiture shall convey and remit to the

Office of the United States District Clerk of Court for the Western District of North Carolina the

sum of $7,365.00 that was seized from the defendant on or about October 28, 2010, which sum

is currently in the possession of the Treasury Executive Office for Asset Forfeiture, for

prepayment of the monetary penalties in this matter.

       2.      The prejudgment payment shall be accepted by the Clerk of Court in this case and

the funds will be deposited into the Registry of the Court.

       3.      Upon entry of the Judgment entered in this case, or as soon as possible in the

ordinary course of the Clerk's duties, the Clerk of Court will apply the prejudgment money

towards the monetary penalties ordered in this matter.




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       4.      In addition, the Court orders the payment of $500.00 in court-appointed attorneys'

fees to be deducted from the seized funds.

       5.      In the event the Clerk possesses funds in excess of the monetary penalties

imposed in this matter, the Clerk shall refund any overpayment directly to the defendant.

       6.      The government shall be required to serve a copy of this Order upon the Clerk or

the Financial Deputy Clerk.

                                                Signed: July 28, 2011




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